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       Attachment B




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                                                             Attachment B



                        UNITED STATES DEPARTMENT OF EDUCATION
                    OFFICE OF PLANNING, EVALUATION, AND POLICY DEVELOPMENT




April 29, 2025

Scott Ostendorf

MARIN COUNTY OFFICE OF EDUCATION



                                     Notice of Non-Continuation of Grant Award

Dear Scott Ostendorf:
        This letter provides notice that the United States Department of Education has determined
not to continue your federal award, S184X240201, in its entirety, effective at the end of your
current grant budget period. See, inter alia, 34 C.F.R. § 75.253(a)(5) and (f)(1).

         Continuation requires “a determination from the Secretary that continuation of the project
is in the best interest of the Federal Government.” Id. The Department has undertaken a review of
grants and determined that the grant specified above provides funding for programs that reflect the
prior Administration’s priorities and policy preferences and conflict with those of the current
Administration, in that the programs: violate the letter or purpose of Federal civil rights law;
conflict with the Department’s policy of prioritizing merit, fairness, and excellence in education;
undermine the well-being of the students these programs are intended to help; or constitute an
inappropriate use of federal funds. The grant is therefore inconsistent with, and no longer
effectuates, the best interest of the Federal Government and will not be continued.
       Pursuant to 34 C.F.R. § 75.253(g), you may request reconsideration of this decision. To do
so, you must submit information and documentation supporting your position, in writing, within
30 calendar days of the date of this non-continuation grant award notice. Requests for
reconsideration must be sent by email or first-class mail and addressed to:

                    Hayley Sanon
                    Acting Assistant Secretary for Elementary and Secondary Education
                    Office of Elementary and Secondary Education
                    U.S. Department of Education
                    OESEGrants@ed.gov
                    400 Maryland Ave. SW
                                          400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                         www.ed.gov


The Department of Education's mission is to promote student achievement and preparation for global competitiveness by fostering
                             educational excellence and ensuring equal access.



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                    Washington, DC 20202

       Your request for reconsideration should set forth your basis for disagreeing with the
Department’s decision not to make a continuation award and include any relevant supporting
documentation. See 34 C.F.R. § 75.253(g) and 2 C.F.R. § 200.342. Grantees will not be offered a
no-cost extension consistent with the Department’s discretionary authority under 34 C.F.R. §
75.253(h) and 2 C.F.R. § 200.308(g)(2).

        You are encouraged to carefully review and discharge your closeout responsibilities set
forth in 2 C.F.R. § 200.344-46 and your award agreement. Those responsibilities include, but are
not limited to, your obligation to “promptly refund any unobligated funds” that have been paid out
but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in
the Department filing a report documenting your “material failure to comply with the terms and
conditions of” this award on SAM.gov and taking any other appropriate enforcement actions,
which could impact your eligibility for future grants and may result in additional liabilities. See id.
§ 200.344(i). Additionally, under 2 C.F.R. § 200.344(b), you are required to submit all final reports
by no later than 120 calendar days after the end of the grant period of performance. Finally, we
also remind you of your responsibility to retain all Federal award records for three years from the
date of submission of your final financial report. See 2 C.F.R. § 200.334


Sincerely,




Murray Bessette
Office of Planning, Evaluation, and Policy Development
400 Maryland Ave. SW
Washington, DC 20202




                                          400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                         www.ed.gov


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